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                                                                                                 " "J T ARKANSAS


                                                                                          ov 02 2022
                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS                                              CLERK
                                   CENTRAL DIVISION                                                    DEPCLERK

BRUCE McARTHUR SMITH, a/k/a "ROCK";                  )
IYARE OGBEIWI, a/k/a "AJ";                           )
RODERICK LAMONT TONEY;                               )
KEVIN LANGEL, a/k/a "CAL VIN";                       )      No. 4:22CR   001\q L-VR
LARRY ROGERS;                                        )
ARNOLD TURNER, a/k/a "BOO BOO";                      )      18 U.S.C. § 922(g)
LANISE BRIGGS;                                       )      18 U.S.C. § 924(c)(l)(A)
CHARLES TYRONE ROBINSON, a/k/a "TY";                 )      21 U.S.C. §§ 841(a)(l), (b)(l)(A)
ANGELA ROBINSON;                                     )      21 U.S .C. §§ 841(a)(l), (b)(l)(B)
CARLOS HOUSTON;                                      )      21 U.S.C. §§ 841(a)(l), (b)(l)(C)
RICKY MANNING, a/k/a "LIL RICK";                     )      21 U.S.C. §§ 841(a)(l), (b)(l)(D)
CHRISTOPHER NEWMAN, SR.;                             )      21 U.S.C. § 843(b)
JASON McDONALD, a/k/a "PETE";                        )      21 U.S.C. § 846
JERMAINE WORKS                                       )
CURTIS BRANDON;                                      )
KARA WILLARD;                                        )
JARVIS BATTLES; and                                  )
HERBERT BOYKIN                                       )

                                         INDICTMENT

       THE GRAND JURY CHARGES:

                                             COUNT 1

       From in or about January 2020, until on or about November 1, 2022, in the Eastern District

of Arkansas and elsewhere, the defendants,

                         BRUCE McARTHUR SMITH, a/k/a "ROCK";
                               IYARE OGBEIWI, a/k/a "AJ";
                              RODERICK LAMONT TONEY;
                           ARNOLD TURNER, a/k/a "BOO BOO";
                           RICKY MANNING, a/k/a "LIL RICK";
                             CHRISTOPHER NEWMAN, SR.;
                            JASON McDONALD, a/k/a "PETE";
                                  CURTIS BRANDON;
                                  KARA WILLARD; and
                                  JERMAINE WORKS,

voluntarily and intentionally conspired with each other, and with others known and unknown to

the grand jury, to knowingly and intentionally possess with intent to distribute and to distribute
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500 grams or more of a mixture and substance containing a detectable amount of

methamphetamine, and 50 grams or more of methamphetamine (actual), Schedule II controlled

substances, in violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(A).

        All in violation of Title 21, United States Code, Section 846.

                                             COUNT2

        A.      From in or about January 2020, until on or about November 1, 2022, in the Eastern

District of Arkansas and elsewhere, the defendants,

                              IYARE OGBEIWI, a/k/a "AJ";
                             RODERICK LAMONT TONEY;
                                 CARLOS HOUSTON;
                           JASON McDONALD, a/k/a "PETE";
                                  JARVIS BATTLES;
                       CHARLES TYRONE ROBINSON, a/k/a "TY"; and
                                 JERMAINE WORKS,

voluntarily and intentionally conspired with each other, and with others known and unknown to

the grand jury, to knowingly and intentionally possess with intent to distribute and to distribute a

mixture and substance containing a detectable amount of fentanyl, a Schedule II controlled

substances, in violation of Title 21, United States Code, Section 841(a)(l).

       B.       With respect to defendants IYARE OGBEIWI, a/k/a "AJ"; RODERICK LAMONT

TONEY; CARLOS HOUSTON; JASON McDONALD, a/k/a "PETE"; and JARVIS BATTLES,

the amount of fentanyl involved in the conspiracy attributable to each of them as a result of his

own conduct, and the conduct of other co-conspirators reasonably foreseeable to him, is 400 grams

or more of a mixture and substance containing a detectable amount of fentanyl, in violation of Title

21, United States Code, Section 841(b)(l)(A).

       C.       With respect to defendants CHARLES TYRONE ROBINSON, a/k/a "TY", and

JERMAINE WORKS, the amount of fentanyl involved in the conspiracy attributable to each of



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them as a result of his own conduct, and the conduct of other co-conspirators reasonably

foreseeable to him, is 40 grams or more, but less than 400 grams, of a mixture and substance

containing a detectable amount of fentanyl, in violation of Title 21, United States Code, Section

841 (b )(1 )(B).

        All in violation of Title 21, United States Code, Section 846.

                                             COUNT3

        From in or about January 2022, until on or about November 1, 2022, in the Eastern District

of Arkansas and elsewhere, the defendants,

                             RODERICK LAMONT TONEY;
                            KEVIN LANGEL, a/k/a "CAL VIN";
                                  LARRY ROGERS;
                                  LANISE BRIGGS;
                       CHARLES TYRONE ROBINSON, a/k/a "TY"; and
                                ANGELA ROBINSON,

voluntarily and intentionally conspired with each other, and with others known and unknown to

the grand jury, to knowingly and intentionally possess with intent to distribute and to distribute

500 grams or more, but less than 5 kilograms, of a mixture and substance containing a detectable

amount of cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l), and (b)(l)(B).

        All in violation of Title 21, United States Code, Section 846.

                                             COUNT4

        On or about July 26, 2021, in the Eastern District of Arkansas, the defendant,

                                      JERMAINE WORKS,

knowingly and intentionally distributed a mixture and substance containing a detectable amount

of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(l) and 841(b)(l)(C).


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                                             COUNTS

       On or about August 20, 2021, in the Eastern District of Arkansas, the defendant,

                                       JERMAINE WORKS,

knowingly and intentionally distributed at least 50 grams, but less than 500 grams, of a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(B).

                                             COUNT6

       On or about September 8, 2021, in the Eastern District of Arkansas, the defendant,

                                       JERMAINE WORKS,

knowingly and intentionally distributed a mixture and substance containing a detectable amount

of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(l) and 841(b)(l)(C).

                                             COUNT7

       On or about September 8, 2021, in the Eastern District of Arkansas, the defendant,

                                       JERMAINE WORKS,

knowingly and intentionally distributed a mixture and substance containing a detectable amount

of fentanyl, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(C).

                                           COUNTS

       On or about October 12, 2021, in the Eastern District of Arkansas, the defendant,

                                       JERMAINE WORKS,




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knowingly and intentionally distributed a mixture and substance containing a detectable amount

of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(l) and 841(b)(l)(C).

                                             COUNT9

       On or about October 12, 2021, in the Eastern District of Arkansas, the defendant,

                                       JERMAINE WORKS,

knowingly and intentionally distributed a mixture and substance containing a detectable amount

of fentanyl, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(C).

                                          COUNT 10

       On or about November 30, 2021, in the Eastern District of Arkansas, the defendant,

                                       JERMAINE WORKS,

knowingly and intentionally distributed a mixture and substance containing a detectable amount

of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(l) and 841(b)(l)(C).

                                          COUNT 11

       On or about November 30, 2021, in the Eastern District of Arkansas, the defendant,

                                       JERMAINE WORKS,

knowingly and intentionally distributed a mixture and substance containing a detectable amount

of fentany I, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(C).




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                                            COUNT 12

        On or about December 1, 2021, in the Eastern District of Arkansas, the defendant,

                                       JERMAINE WORKS,

knowingly and intentionally possessed with intent to distribute at least 50 grams, but less than 500

grams, of a mixture and substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841 (a)(l)

and 841(b)(l)(B).

                                            COUNT 13

        On or about December 1, 2021, in the Eastern District of Arkansas, the defendant,

                                       JERMAINE WORKS,

knowingly and intentionally possessed with intent to distribute at least 40 grams, but less than 400

grams, of a mixture and substance containing a detectable amount of fentanyl, a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(l) and

841 (b)(1 )(B).

                                            COUNT 14

        On or about December 1, 2021, in the Eastern District of Arkansas, the defendant,

                                       JERMAINE WORKS,

knowingly and intentionally possessed with intent to distribute a mixture and substance containing

a detectable amount of cocaine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                            COUNT 15

        A.        On or about December 1, 2021, the defendant,

                                       JERMAINE WORKS,



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had been previously and knowingly convicted of the following crime punishable by a te1m of

imprisonment exceeding one year: Manufacturing/Delivery of a Controlled Substance, in Pulaski

County, Arkansas, Circuit Comi in Case Number 05-4363 .

        B.      On or about December 1, 2021, in the Eastern District of Arkansas, the

defendant,

                                      JERMAINE WORKS,

knowingly possessed, in and affecting commerce, one or more of the following firearms:

                1.     a Bryco Arms, model Jennings Nine, 9mm pistol, bearing serial number

                       1413422;

                2.     a Colt, model Official Police 38, .38 caliber revolver, bearing serial

                       number 630346;

                3.     an Armscor/Rock Island Armory, model 206, .38 SPL caliber revolver,

                       with a defaced serial number; and

                4.     a Remington (DPMS Panther Anns), model A-15, multi-caliber rifle,

                       bearing serial number FFH133018.

       All in violation of Title 18, United States Code, Section 922(g)(l).

                                           COUNT 16

       On or about December 1, 2021, in the Eastern District of Arkansas, the defendant,

                                      JERMAINE WORKS,

knowingly and intentionally possessed at least one of the following fireaims, that is a Bryco Alms,

model Jennings Nine, 9mm pistol, bearing serial number 1413422; a Colt, model Official Police

38, .38 caliber revolver, bearing serial number 630346; an Armscor/Rock Island Armory, model

206, .38 SPL caliber revolver, with a defaced serial number; and a Remington (DPMS Panther



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Arms), model A-15, multi-caliber rifle, bearing serial number FFH133018, in furtherance of a drug

trafficking crime prosecutable in a court of the United States, that is: a violation of Title 21, United

States Code, Sections 846 and 841(a)(l), as set forth in Counts 1, 10, 11 and 12 of this Indictment.

        All in violation of Title 18, United States Code, Section 924(c)(l)(A).

                                             COUNT 17

        On or about December 9, 2021, in the Eastern District of Arkansas, the defendant,

                               JASON McDONALD, a/k/a "PETE",

knowingly and intentionally distributed at least 50 grams, but less than 500 grams, of a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21 , United States Code, Sections 841(a)(l) and 841(b)(l)(B).

                                             COUNT 18

        On or about March 14, 2022, in the Eastern District of Arkansas, the defendant,

                               JASON McDONALD, a/k/a "PETE",

knowingly and intentionally distributed at least 40 grams, but less than 400 grams, of a mixture

and substance containing a detectable amount of fentanyl, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(B).

                                             COUNT 19

       On or about March 22, 2022, in the Eastern District of Arkansas, the defendant,

                               JASON McDONALD, a/k/a "PETE",

knowingly and intentionally distributed at least 50 grams, but less than 500 grams, of a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(B).




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                                           COUNT20

        On or about April 13, 2022, in the Eastern District of Arkansas, the defendant,

                              JASON McDONALD, a/k/a "PETE",

knowingly and intentionally distributed at least 50 grams, but less than 500 grams, of a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(B).

                                           COUNT21

        On or about May 19, 2022, in the Eastern District of Arkansas, the defendant,

                              JASON McDONALD, a/k/a "PETE",

knowingly and intentionally distributed at least 50 grams, but less than 500 grams, of a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 84l(a)(l) and 841(b)(l)(B).

                                           COUNT22

       On or about June 3, 2022, in the Eastern District of Arkansas, the defendants,

            JASON McDONALD, a/k/a "PETE", CHRISTOPHER NEWMAN, SR.,
                       and RODERICK LAMONT TONEY,

knowingly and intentionally distributed at least 50 grams, but less than 500 grams, of a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(B).

                                           COUNT23

       On or about July 20, 2022, in the Eastern District of Arkansas, the defendant,

                              JASON McDONALD, a/k/a "PETE",

knowingly and intentionally possessed with intent to distribute marihuana, a Schedule I controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(D).


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                                            COUNT24

       A.       On or about July 20, 2022, the defendant,

                               JASON McDONALD, a/k/a "PETE",

had been previously and knowingly convicted of one or more of the following crimes punishable

by a term of imprisonment exceeding one year:

                1.     Possession of Cocaine or a Narcotic Drug, in Elkhart, Indiana, Circuit

                       Comi in Case Number C104FD194;

                2.     Robbery, in Elkhart, Indiana, Circuit Comi in Case Number C103FB162;

                3.     Possession of Marijuana with Intent to Deliver, in Pulaski County,

                       Arkansas, Circuit Court in Case Number 08-3880;

                4.     Escape, in Desha County, Arkansas, Circuit Court in Case Number 10-59;

                       and

                5.     Failure to Appear on a Felony, in Desha County, Arkansas, Circuit Court

                       in Case Number 10-67.

       B.       On or about July 20, 2022, in the Eastern District of Arkansas, the

defendant,

                              JASON McDONALD, a/k/a "PETE",

knowingly possessed, in and affecting commerce, one or more of the following fireanns:

                1.     a Springfield Armory/Springfield Inc., model 1911-Al, .45acp caliber

                       handgun, bearing serial number NM420307;

                2.     a Smith & Wesson, model SD40, .40-caliber handgun, bearing serial

                       number FZY4973;
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                  3.    a Taurus, model G3c, 9mm handgun, bearing serial number ABG734655;

                        and

                  4.    a Beretta, model 950 B, 6.35 caliber pistol, bearing serial number B86091.

         All in violation of Title 18, United States Code, Section 922(g)(l ).

                                             COUNT25

         On or about July 20, 2022, in the Eastern District of Arkansas, the defendant,

                                JASON McDONALD, a/k/a "PETE",

knowingly and intentionally possessed at least one of the following fireaims, that is: a Springfield

Armory/Springfield Inc., model 1911-Al, .45acp caliber handgun, beai·ing serial number

NM420307; a Smith & Wesson, model SD40, .40-caliber handgun, bearing serial number

FZY4973; a Taurus, model G3c, 9mmhandgun, bearing serial number ABG734655; and aBeretta,

model 950 B, 6.35 caliber pistol, beai·ing serial number B86091, in fmiherance of a drug trafficking

crime prosecutable in a court of the United States, that is: a violation of Title 21, United States

Code, Sections 846 and 841(a)(l), as set forth in Counts 1 and 21 of this Indictment.

        All in violation of Title 18, United States Code, Section 924(c)(l)(A).

                                             COUNT26

        On or about July 20, 2022, in the Eastern District of Arkansas, the defendant,

                                 RODERICK LAMONT TONEY,

knowingly and intentionally possessed with intent to distribute at least 40 grams, but less than 400

grams, of a mixture and substance containing a detectable amount of fentanyl, a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(l) and

841 (b)(1 )(B).




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                                           COUNT27

        A.     On or about July 20, 2022, the defendant,

                                RODERJCK LAMONT TONEY,

had been previously and knowingly convicted of one or more of the following crimes punishable

by a tenn of imprisonment exceeding one year:

               1.      Theft of Prope1iy and Fleeing, in Pulaski County, Arkansas, Circuit Court

                       in Case Number 84-146;

               2.      Violations of Controlled Substances Act, in Pulaski County, Arkansas,

                       Circuit Court in Case Number 87-1922;

               3.      Manufacture/Delive1y of Controlled Substance, in Pulaski County,

                       Arkansas, Circuit Comi in Case Number 91-793; and

               4.      Possession of a Controlled Substance, in St. Francis, Arkansas, Circuit

                       Comi in Case Number 03-149;

       B.      On or about July 20, 2022, in the Eastern District of Arkansas, the

defendant,

                                RODERJCK LAMONT TONEY,

knowingly possessed, in and affecting commerce, a firearm, that is: a HS Produkt, model XDs,

.45acp caliber handgun, bearing serial number HG 142796, in violation of Title 18, United States

Code, Section 922(g)(l ).

                                           COUNT28

       On or about July 20, 2022, in the Eastern District of Arkansas, the defendant,

                                RODERJCK LAMONT TONEY,




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knowingly and intentionally possessed a fireaim, that is a HS Produkt, model XDs, .45acp caliber

handgun, bearing serial number HG 142796, in furtherance of a drug trafficking crime prosecutable

in a court of the United States, that is: a violation of Title 21, United States Code, Sections 846

and 841(a)(l), as set forth in Counts 1 and 24 of this Indictment.

       All in violation of Title 18, United States Code, Section 924(c)(l)(A).

                                           COUNT29

       On or about June 6, 2022, in the Eastern District of Arkansas, the defendant,

                                       KARA WILLARD,

knowingly and intentionally possessed with intent to distribute at least 500 grams of a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).

                                           COUNT30

       A.      On or about June 30, 2022, the defendant,

                                      HERBERT BOYKIN,

had been previously and knowingly convicted of one or more of the following crimes punishable

by a te1m of imprisonment exceeding one year:

               1.     Possession of a Controlled Substance, in Pulaski County, Arkansas,

                      Circuit Court in Case Number 05-3380;

              2.      Possession of a Controlled Substance, in Pulaski County, Arkansas,

                      Circuit Comi in Case Number 06-4403; and

              3.      Possession of a Controlled Substance and Possession of Drug

                      Paraphernalia, in Pulaski County, Arkansas, Circuit Comi in Case Number

                      11-1267.



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        B.     On or about June 30, 2022, in the Eastern District of Arkansas, the

defendant,

                                       HERBERT BOYKIN,

knowingly possessed, in and affecting commerce, a firearm, that is: a Taurus, model G2c, 9mm

handgun, bearing serial number ACE851421, in violation of Title 18, United States Code,

Section 922(g)(l).

                                            COUNT31

        On or about June 5, 2022, in the Eastern District of Arkansas, the defendant,

                                      CURTIS BRANDON,

knowingly and intentionally used a communication facility, to wit, a telephone, in committing,

causing and facilitating conspiracy to distribute and possess with intent to distribute a controlled

substance, as set forth in Count 1 of this Indictment, in violation of Title 21, United States Code,

Section 846.

       All in violation of Title 21, United States Code, Section 843(b).

                                            COUNT32

       On or about June 6, 2022, in the Eastern District of Arkansas, the defendant,

                                        KARA WILLARD,

knowingly and intentionally used a communication facility, to wit, a telephone, in committing,

causing and facilitating conspiracy to distribute and possess with intent to distribute a controlled

substance, as set fo1ih in Count 1 of this Indictment, in violation of Title 21, United States Code,

Section 846.

       All in violation of Title 21, United States Code, Section 843(b).




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                                            COUNT33

        On or about May 19, 2022, in the Eastern District of Arkansas, the defendant,

                                        JARVIS BATTLES,

knowingly and intentionally used a communication facility, to wit, a telephone, in committing,

causing and facilitating conspiracy to distribute and possess with intent to distribute a controlled

substance, as set fmih in Count 2 of this Indictment, in violation of Title 21, United States Code,

Section 846.

        All in violation of Title 21, United States Code, Section 843(b).

                                            COUNT34

        On or about June 27, 2022, in the Eastern District of Arkansas, the defendant,

                            ARNOLD TURNER, a/k/a "BOO BOO",

knowingly and intentionally used a communication facility, to wit, a telephone, in committing,

causing and facilitating conspiracy to distribute and possess with intent to distribute a controlled

substance, as set forth in Count 1 of this Indictment, in violation of Title 21, United States Code,

Section 846.

       All in violation of Title 21, United States Code, Section 843(b).

                                            COUNT35

       On or about July 13, 2022, in the Eastern District of Arkansas, the defendant,

                                        LARRY ROGERS,

knowingly and intentionally used a communication facility, to wit, a telephone, in committing,

causing and facilitating conspiracy to distribute and possess with intent to distribute a controlled

substance, as set forth in Count 3 of this Indictment, in violation of Title 21, United States Code,

Section 846, in violation of Title 21, United States Code, Section 843(b).



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                                            COUNT36

        On or about July 16, 2022, in the Eastern District of Arkansas, the defendant,

                          CHARLES TYRONE ROBINSON, a/k/a "TY",

knowingly and intentionally used a communication facility, to wit, a telephone, in committing,

causing and facilitating conspiracy to distribute and possess with intent to distribute a controlled

substance, as set forth in Count 2 of this Indictment, in violation of Title 21, United States Code,

Section 846.

        All in violation of Title 21, United States Code, Section 843(b).

                                            COUNT37

        On or about June 29, 2022, in the Eastern District of Arkansas, the defendant,

                                      CARLOS HOUSTON,

knowingly and intentionally used a communication facility, to wit, a telephone, in committing,

causing and facilitating conspiracy to distribute and possess with intent to distribute a controlled

substance, as set fmih in Count 2 of this Indictment, in violation of Title 21, United States Code,

Section 846.

       All in violation of Title 21, United States Code, Section 843(b).

                                            COUNT38

       On or about July 1, 2022, in the Eastern District of Arkansas, the defendant,

                             RICKY MANNING, a/k/a "LIL RICK",

knowingly and intentionally used a communication facility, to wit, a telephone, in committing,

causing and facilitating conspiracy to distribute and possess with intent to distribute a controlled

substance, as set forth in Count 1 of this Indictment, in violation of Title 21, United States Code,

Section 846, in violation of Title 21, United States Code, Section 843(b).



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                               FORFEITURE ALLEGATION 1

        Upon conviction of any Counts 1 through 38 of this Indictment, the defendants, BRUCE

McARTHUR SMITH, a/k/a/ "ROCK"; IYARE OGBEIWI, a/k/a "AJ"; RODERICK LAMONT

TONEY; KEVIN LANGEL, a/k/a "CALVIN"; LARRY ROGERS; ARNOLD TURNER, a/k/a

"BOO BOO"; LANISE BRIGGS; CHARLES TYRONE ROBINSON, a/k/a "TY"; ANGELA

ROBINSON; CARLOS HOUSTON; RICKY MANNING, a/k/a "LIL RICK"; CHRISTOPHER

NEWMAN, SR.; JASON McDONALD, a/k/a "PETE"; CURTIS BRANDON; KARA

WILLARD; JARVIS BATTLES; JERMAINE WORKS; and HERBERT BOYKIN, shall forfeit

to the United States, under Title 21, United States Code, Section 853(a)(l), all property

constituting, or derived from, any proceeds the person obtained, directly or indirectly, as a result

of the offense.

                               FORFEITURE ALLEGATION 2

       Upon conviction of any Counts 1 through 3 8 of this Indictment, the defendants, BRUCE

McARTHUR SMITH, a/k/a/ "ROCK"; IYARE OGBEIWI, a/k/a "AJ"; RODERICK LAMONT

TONEY; KEVIN LANGEL, a/k/a "CALVIN"; LARRY ROGERS; ARNOLD TURNER, a/k/a

"BOO BOO"; LANISE BRIGGS; CHARLES TYRONE ROBINSON, a/k/a "TY"; ANGELA

ROBINSON; CARLOS HOUSTON; RICKY MANNING, a/k/a "LIL RICK"; CHRISTOPHER

NEWMAN, SR.; JASON McDONALD, a/k/a "PETE"; CURTIS BRANDON; KARA

WILLARD; JARVIS BATTLES; JERMAINE WORKS; and HERBERT BOYKIN, shall forfeit

to the United States, under Title 21, United States Code, Section 853(a)(2), all of the person's

prope1iy used or intended to be used, in any manner or paii, to commit, or to facilitate the

commission of the offense.




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                               FORFEITURE ALLEGATION 3

       Upon conviction of any Counts 1 through 38 of this Indictment, the defendants, BRUCE

McARTHUR SMITH, a/k/a/ "ROCK"; IYARE OGBEIWI, a/k/a "AJ"; RODERICK LAMONT

TONEY; KEVIN LANGEL, a/k/a "CALVIN"; LARRY ROGERS; ARNOLD TURNER, a/k/a

"BOO BOO"; LANISE BRIGGS; CHARLES TYRONE ROBINSON, a/k/a "TY"; ANGELA

ROBINSON; CARLOS HOUSTON; RICKY MANNING, a/k/a "LIL RICK"; CHRISTOPHER

NEWMAN, SR.; JASON McDONALD, a/k/a "PETE"; CURTIS BRANDON; KARA

WILLARD; JARVIS BATTLES; JERMAINE WORKS; and HERBERT BOYKIN, shall forfeit

to the United States, under Title 18, United States Code, Section 924( d), Title 21, United States

Code, Section 853, and Title 28, United States Code, Section 2461(c), all fireanns and ammunition

involved in the commission of the offense.



                             [End of text. Signature page to follow.]




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